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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

  TODD BOBO, individually and on behalf of all others                         CLASS ACTION
  similarly situated,
                                                                                   Case No.
        Plaintiff,
                                                                        JURY TRIAL DEMANDED
  vs.

  CLOVER NETWORK, LLC,

    Defendant.
  __________________________________________/

                                      CLASS ACTION COMPLAINT

            1.       Plaintiff, Todd Bobo (“Plaintiff”), brings this action against Defendant, Clover

 Network, LLC (“Defendant”), to secure redress for violations of the Telephone Consumer

 Protection Act (“TCPA”), 47 U.S.C. § 227.

                                         NATURE OF THE ACTION

            2.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

 U.S.C. § 227 et seq., (the “TCPA”).

            3.       Defendant is a point-of-sale platform retailer that provides e-commerce services to

 businesses. To promote its services, Defendant engages in unsolicited marketing, harming thousands of

 consumers in the process.

            4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct,

 which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily life

 of thousands of individuals. Plaintiff also seeks statutory damages on behalf of himself and members

 of the class, and any other available legal or equitable remedies.
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                                     JURISDICTION AND VENUE

            5.   Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

 statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

 which will result in at least one class member belonging to a different state than that of Defendant.

 Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call in violation

 of the TCPA, which, when aggregated among a proposed class numbering in the tens of thousands, or

 more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction under the

 Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA

 jurisdiction are present.

            6.   Venue is proper in the United States District Court for the Southern District of Florida

 pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district

 in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

 its services within this district thereby establishing sufficient contacts to subject it to personal

 jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within the State of Florida

 and, on information and belief, Defendant has sent the same text messages complained of by Plaintiff

 to other individuals within this judicial district, such that some of Defendant’s acts in making such calls

 have occurred within this district, subjecting Defendant to jurisdiction in the State of Florida.

                                                 PARTIES

            7.   Plaintiff is a natural person who, at all times relevant to this action, was a resident of

 Miami-Dade County, Florida.

            8.   Defendant is a Delaware limited liability company whose principal place of business is

 located at 187 Wolf Rd. Ste 101, Albany, NY 12205.

            9.   Defendant directs, markets, and provides its business activities throughout the State of

 Florida.
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         10.     Unless otherwise indicated, the use of Defendant ’s name in this Complaint includes

 all agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

 sureties, subrogees, representatives, vendors, and insurers of Defendant.

                                                 FACTS

         11.     Over the past year, Defendant began bombarding Plaintiff with telemarketing text

 messages to Plaintiff’s cellular telephone number ending in 3660 (the “3660 Number”), including but

 not limited to the following on May 3, 2022:




         12.     Defendant’s text messages were transmitted to Plaintiff’s cellular telephone, and within

 the time frame relevant to this action.

         13.     Defendant’s text messages constitute telemarketing because they encouraged the future

 purchase or investment in property, goods, or services, i.e., advertising Defendant’s software application

 and the use of a reward system for Plaintiff’s purchases.

         14.     The information contained in the text message advertises Defendant’s various

 promotions, which Defendant sends to promote its business.
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         15.     Plaintiff received the subject texts within this judicial district and, therefore, Defendant’s

 violation of the TCPA occurred within this district. Upon information and belief, Defendant caused

 other text messages to be sent to individuals residing within this judicial district.

         16.     Defendant’s texts were not made for an emergency purpose or to collect on a debt

 pursuant to 47 U.S.C. § 227(b)(1)(B).

         17.     At no point in time did Plaintiff provide Defendant with his express written consent to

 be contacted.

         18.     Plaintiff has no existing business relationship with Defendant.

         19.     Plaintiff is the subscriber and sole user of the 3660 Number and is financially

 responsible for phone service to the 3660 Number.

         20.     Plaintiff registered his 3660 Number with the national do-not-call registry on October

 7, 2011, and has been registered at all times relevant to this action.

         21.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

 person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

 who has registered his or her telephone number on the national do-not-call registry of persons who

 do not wish to receive telephone solicitations that is maintained by the federal government.

         22.     The text messages originated from telephone numbers 73752, a number which upon

 information and belief is owned and operated by Defendant or on behalf of Defendant.

         23.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including

 invasion of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

 Defendant’s text messages also inconvenienced Plaintiff and caused disruption to his daily life.

                                        CLASS ALLEGATIONS

         PROPOSED CLASS
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         24.      Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

 himself and all others similarly situated.

         25.      Plaintiff brings this case on behalf of a Class defined as follows:

                      Do Not Call Registry Class: All persons in the United
                      States who from four years prior to the filing of this action
                      (1) were sent a text message by or on behalf of Defendant;
                      (2) more than one time within any 12-month period; (3)
                      where the person’s telephone number had been listed on
                      the National Do Not Call Registry for at least thirty days;
                      (4) for the purpose of selling Defendant’s products and
                      services; and (5) for whom Defendant claims (a) it did not
                      obtain prior express written consent, or (b) it obtained
                      prior express written consent in the same manner as
                      Defendant claims it supposedly obtained prior express
                      written consent to call the Plaintiff.

         26.      Defendant and its employees or agents are excluded from the Class. Plaintiff does not

 know the number of members in the Class, but believes the Class members number in the several

 thousands, if not more.

            NUMEROSITY

         27.      Upon information and belief, Defendant has placed violative calls to cellular telephone

 numbers belonging to thousands of consumers throughout the United States who are registered on the

 Do Not Call registry. The members of the Class, therefore, are believed to be so numerous that joinder

 of all members is impracticable.

         28.      The exact number and identities of the Class members are unknown at this time and can

 only be ascertained through discovery. Identification of the Class members is a matter capable of

 ministerial determination from Defendant’s call records.

               COMMON QUESTIONS OF LAW AND FACT

         29.      There are numerous questions of law and fact common to the Class which predominate

 over any questions affecting only individual members of the Class. Among the questions of law and

 fact common to the Class are:
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                 a) Whether Defendant violated 47 C.F.R. § 64.1200(c);

                 b) Whether Defendant’s conduct was knowing and willful;

                 c) Whether Defendant violated the privacy rights of Plaintiff and members of the class;

                 d) Whether Defendant is liable for damages, and the amount of such damages; and

                 e) Whether Defendant should be enjoined from such conduct in the future.


         30.     The common questions in this case are capable of having common answers. If Plaintiff’s

 claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

 telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

 being efficiently adjudicated and administered in this case.

               TYPICALITY

         31.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

 on the same factual and legal theories.

               PROTECTING THE INTERESTS OF THE CLASS MEMBERS

         32.     Plaintiff is a representative who will fully and adequately assert and protect the interests

 of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

 and will fairly and adequately protect the interests of the Class.

               PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

         33.     A class action is superior to all other available methods for the fair and efficient

 adjudication of this lawsuit because individual litigation of the claims of all members of the Class is

 economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

 Class are in the millions of dollars, the individual damages incurred by each member of the Class

 resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

 lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

 and, even if every member of the Class could afford individual litigation, the court system would be

 unduly burdened by individual litigation of such cases.
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         34.     The prosecution of separate actions by members of the Class would create a risk of

 establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

 one court might enjoin Defendant from performing the challenged acts, whereas another may not.

 Additionally, individual actions may be dispositive of the interests of the Class, although certain class

 members are not parties to such actions.

                                             COUNT I
                            Violation of the TCPA, 47 U.S.C. § 227
                    (On Behalf of Plaintiff and the Do Not Call Registry Class)

         35.     Plaintiff repeats and realleges the paragraphs 1 through 34 of this Complaint and

 incorporates them by reference herein.

         36.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

 person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber who has

 registered his or her telephone number on the national do-not-call registry of persons who do not wish

 to receive telephone solicitations that is maintained by the federal government.”

         37.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any person

 or entity making telephone solicitations or telemarketing calls to wireless telephone numbers.”1

         38.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate any call

 for telemarketing purposes to a residential telephone subscriber unless such person or entity has

 instituted procedures for maintaining a list of persons who request not to receive telemarketing calls

 made by or on behalf of that person or entity.”

         39.     Any “person who has received more than one telephone call within any 12-month

 period by or on behalf of the same entity in violation of the regulations prescribed under this subsection

 may” may bring a private action based on a violation of said regulations, which were promulgated to




 1
  Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
 Report and Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-
 153A1.pdf
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 protect telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which they

 object. 47 U.S.C. § 227(c).

           40.    Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

 telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry Class

 members who registered their respective telephone numbers on the National Do Not Call Registry, a

 listing of persons who do not wish to receive telephone solicitations that is maintained by the federal

 government.

           41.    Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call Registry

 Class received more than one telephone call in a 12-month period made by or on behalf of Defendant

 in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s conduct as alleged

 herein, Plaintiff and the Do Not Call Registry Class suffered actual damages and, under section 47

 U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R.

 § 64.1200.

           42.    To the extent Defendant’s misconduct is determined to be willful and knowing, the

 Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages recoverable by

 the members of the Do Not Call Registry Class.

                                        PRAYER FOR RELIEF
           WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the following

 relief:

     a) An order certifying this case as a class action on behalf of the Class as defined above, and

 appointing Plaintiff as the representative of the Class and Plaintiff’s counsel as Class Counsel;

     b) An award of actual and statutory damages for Plaintiff and each member of the Class;

     c) An order declaring that Defendant’s actions, set out above, violate the TCPA;

     d) An injunction requiring Defendant to cease all unsolicited text messaging activity, and to

 otherwise protect the interests of the Class;
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    e) Such further and other relief as the Court deems necessary.

                                          JURY DEMAND

          Plaintiff and Class Members hereby demand a trial by jury.

                            DOCUMENT PRESERVATION DEMAND

        Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

 databases, or other itemizations associated with the allegations herein, including all records, lists,

 electronic databases, or other itemizations in the possession of any vendors, individuals, and/or

 companies contracted, hired, or directed by Defendant to assist in sending the alleged communications.

 Dated: July 26, 2022

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